             Case 5:22-cr-00051-gwc Document 6 Filed 06/22/22 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                                 )
     Plaintiff,                                           )
                                                          )
        v.                                                )       Criminal No. 5:22-cr-51-2
                                                          )
JACQUELYN FOUGERE,                                        )
     Defendant.                                           )

                                    MOTION FOR DETENTION

        NOW COMES the United States of America, by and through its attorney, Nikolas P.

Kerest, United States Attorney for the District of Vermont moves for pretrial detention of the

above-named defendant pursuant to 18 U.S.C. § 3142(e) and (f).

        1. Eligibility for Detention. This defendant is eligible for detention because the case

involves a crime of violence. See 18 U.S.C. § 3142(f)(1)(A). 1 The defendant and Daniel King

attempted to rob a man of cash and THC cartridges by breaking into his residential trailer in

Westminster, Vermont. The victim reported to law enforcement that King was carrying a

firearm when he kicked down the door to the trailer. King also was carrying zip ties which were

readied as make-shift handcuffs, as depicted below:




1
 The government is aware of the Supreme Court’s recent holding in United States v. Taylor, No. 20-
1459, which held that attempted Hobbs Act robbery is not a crime of violence pursuant to the elements
clause of 18 U.S.C. § 924(c)(3). However, the government submits that attempted Hobbs Act robbery
and conspiracy to commit Hobbs Act robbery remain crimes of violence for purposes of the Bail Reform
Act, in particular pursuant to the residual clause found at 18 U.S.C. § 3156(a)(4)(B). See United States v.
Watkins, 940 F.3d 152 (2d Cir. 2019) (finding residual clause of Bail Reform Act’s definition of “crime
of violence” is not void for vaugness). Therefore, the defendant is eligible for detention.
           Case 5:22-cr-00051-gwc Document 6 Filed 06/22/22 Page 2 of 2




       2. Reason For Detention. The Court should detain the defendant because there are no

conditions of release which will reasonably assure the safety of any other person and the

community.

       3. Rebuttable Presumption. No rebuttable presumption applies in this case.

       4. Time For Detention Hearing. The United States requests the court conduct the

detention hearing upon completion of the pretrial services report.

       5. Other Matters. The government believes the defendant to have been an active abuser

of opiates from at least January 2022 until the time of her arrest. Further, the defendant

participated in the attempted robbery charged in the grand jury’s Indictment due to a desire to

obtain money to purchase illicit narcotics. In addition to the charged robbery, defendant Fougere

was likely complicit in an attempted robbery of the 802 Credit Union in Springfield, Vermont,

on January 13, 2022. See United States v. Colby, 2:22-cr-003 [D.E. 1-1] at 7-11 (defendant

Fougere referred to as J.F.). Given the defendant’s involvement in these two attempted violent

crimes, both of which were designed to obtain money to purchase illicit narcotics, the defendant

should not be released without a structured plan designed to address her addiction.

       Dated at Burlington, in the District of Vermont, June 22, 2022.

                                                             Respectfully submitted,

                                                             NIKOLAS P. KEREST
                                                             United States Attorney


                                                     By:     /s/ Jonathan A. Ophardt
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